       Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 1 of 9




                      FOR THE DISTRICT OF MONTANA

                               MISSOULA DIVISION


UNITED STATES OF AMERICA,                     Cause No. CR 06-66-M-DWM

            PlaintifflRespondent,

      vs.                                     ORDER DENYING § 2255 MOTION
                                              AND DENYING CERTIFICATE OF
DAMIEN ALLEN NICKERSON,                       APPEALABILITY

            Defendant/Movant.


      On April 16, 2010, DefendantIMovant Damien Nickerson ("Nickerson") filed

a motion to vacate, set aside, or correct his sentence, pursuant to 28 U.S.C. § 2255.

He is represented by attorney Jason Holden.

      Nickerson's trial counsel, Lisa Kauffman, flouted a clear ethical rule by

interviewing Nickerson's co-defendant, Frank Hazel, against the express prohibition

of Hazel's counsel. This issue was the subject matter of Nickerson's direct appeal,

which was denied on February 25,2009. Nickerson now brings three very similar

claims in his § 2255 motion.

ORDER DENYING § 2255 MOTION AND DENYING
CERTIFICATE OF ApPEALABILITY I PAGE 1
      Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 2 of 9



I. Claim 1

      Nickerson claims Kauffman was ineffective. He alleges, in pertinent part:

     [A] conference between trial counsel and Mr. Nickerson was held off­
     the-record and outside the presence ofthe Court. During this conference
     trial counsel told Mr. Nickerson not to ask for new trial counsel because
     the District Court would not grant his request. When the matter was
     then placed back on the record, Mr. Nickerson told the Court that he did
     not want new counsel, based on what his trial counsel told him to say.
     . . . [A]fter Mr. Nickerson was able to break free from his trial counsel
     and speak with his family[,] ... he learned that if had asked for new
     counsel the District Court would have entertained his request.
     Unfortunately, by the time Me. Nickerson learned of his ability to
     request new counsel it was too late.

Mot. § 2255 (doc. 149) at 4 Ground One.

      Actually, after he consulted with his family, Nickerson asked for new counsel:

      The Court: Okay. There was another suggestion at the Clerk's Office
                 that Mr. Nickerson is not happy with his lawyer situation
                 and that he wants a new lawyer. I thought we addressed
                 that this morning ....
                        Mr. Nickerson, is that an issue?

     Defendant: Ah, yes, sir. I wanted to talk to my dad about it because
                he's kind of helped me out in this case.

     The Court: Well, is he a lawyer?

     Defendant: No. Does he have to be a lawyer to help me out?

     The Court: To be involved in representing you?

     Defendant: Yeah.

ORDER DENYING § 2255 MOTION AND DENYING
CERTIFICATE OF ApPEALABILITY /PAGE2
       Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 3 of 9



      The Court: Yeah.

      Defendant: Well, yeah, I have a problem.

Tr. (doc. 142) at 152: 11-153:2. Nickerson explained that he had wanted to call Frank

Hazel as a witness, but Hazel had invoked his Fifth Amendment privilege. He

suggested that Hazel refused to testify because ofKauffman's behavior. I explained:

      The Court: [B]ut that doesn't have anything to do with the fact that
                 [Hazel is] invoking the Fifth Amendment, whether he
                 talked to Ms. Kauffinan or whether he did not talk to her.
                         Ms. Antenor is the one advising him, and she had
                 represented he ... has always intended to invoke his right
                 against self-incrimination.
                         I think you're listening to your dad and not your
                 lawyer. And I asked you this morning if it was a problem
                 and you said no, it isn't a problem because Ms. Kauffman
                 fully explained everything to you to your satisfaction. And
                 then I went over that again with you and you assured me
                 that there was no problem. And, in fact, I think you said
                 you wanted her to represent you and you wanted to go to
                 trial this afternoon....
                         I need you to tell me the reason, not your dad's
                 reason, your reason that what you told me this morning no
                 longer holds.

      Defendant: I don't have a reason.

      The Court: I'm sorry?

      Defendant: I don't have a reason.

      The Court: You don't have a reason.



ORDER DENYING § 2255 MOTION AND DENYING
CERTIFICATE OF ApPEALABILITY / PAGE 3
       Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 4 of 9



      Defendant: No, that was my reason, what I just told you.

      The Court: And that being?

      Defendant: About Frank.

      The Court: Okay. Well, I need you to teU me, Mr. Nickerson, we have
                 a jury waiting, are we going to trial or not?

      Defendant: No. I want a new attorney.

      The Court: You don't get a new attorney because you want one at this
                 late date. Are you hiring somebody?

      Defendant: I don't know.

      The Court: Ms. Kauffinan?

Tr. at 153:20-155:4. At that point, Nickerson was again permitted to consult with

counsel. She reported back:

      Kauffman:          ... I'm not going to be offended ifhe wants another
                  attorney. I would hope I would work well with that other
                  attorney. So I'm not trying to strong-arm Damien into
                  going to trial ....
                         Damien was getting very mixed signals and now, the
                  final conversation we've had, the father understands that
                  the lawyer he's been speaking to has only received
                  piecemeal information and that it would be in Damien's
                  best interest to proceed. Damien now feels comfortable
                  with that decision. I believe we are ready to proceed. But
                  he, of course, is here ready to answer any questions you
                  have.

     The Court: Well, Mr. Nickerson, what do you think about all that?

ORDER DENYING § 2255 MOTION AND DENYING
CERTIFICATE OF ApPEALABILITY I PAGE 4
      Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 5 of 9



     Defendant: She's right on that, sir, and I'm ready to proceed. Sorry for
                wasting your time.

     The Court: Okay. So ifI understand it, you have no objection to Ms.
                Kauffman representing you.

     Defendant: Yes, sir.

     The Court: And that you have either talked to your father or somebody
                has talked to your father and everybody's on the same sheet
                of music here.

     Defendant: Yes, sir.

     The Court: And that is that you want to go to trial.

     Defendant: Yes, sir, it is.



     The Court: Do you feel like you're being made to go to trial against
                your wishes?

     Defendant: No, sir.

     The Court: Do you think that you're being treated unfairly or that
                there's somebody either in your family or the court or your
                own lawyer putting pressure on you to go forward with the
                trial?

     Defendant: No, sir.

     The Court: So it's your choice and you want to go forward?

     Defendant: Yes, it is.



ORDER DENYING § 2255 MOTION AND DENYING
CERTIFICATE OF ApPEALABILITY / PAGE 5
       Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 6 of 9



      The Court: We will go forward then.

Tr. at 157:2-158:19.

      We will not go back now. Nickerson knew that a new attorney would not be

appointed to represent him. That was true and not an error. United States v.

Nickerson, 556 F.3d 1014, 1020-21 (9th Cir. 2009)(citing United States v. Nguyen,

262 F.3d998, 1001 (9th Cir. 2001); United States v. Castro, 972 F.2d 1107, 1109 (9th

Cir. 1992), overruled on other grounds by United States v. Recio, 537 U.S. 270

(2003)).

      Nickerson also knew that he could hire a new attorney. Kauffinan said so.

Nickerson's father said so. I specifically asked him whether he was going to hire

someone. He chose to proceed. He was given the opportunity to express any

reservations about proceeding to trial or about proceeding with Kauffinan. He chose

to proceed. In light ofthe record, it is not possible that Kauffinan deprived Nickerson

of an opportunity to request new counsel.          He can show neither deficient

performance, Strickland v. Washington, 466 U.S. 668, 687-88 (1984), nor prejudice,

id. at 693. This claim is denied.

II. Claims 2 and 3

      Nickerson further alleges that "[t]he District Court should have granted



ORDER DENYING § 2255 MOTION AND DENYING
CERTIFICATE OF ApPEALABILITY / PAGE 6
       Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 7 of 9



defendant unconflicted trial counsel" and "[t]rial counsel was ineffective for not

withdrawing." Id. at 5 Ground Two. Finally, he asserts that "[t]rial counsel was

ineffective because she was conflicted and should have withdrawn" due to her

creation of an unresolvable conflict of interest" when she "obtained information

directly from Mr. Hazel." Id. at 7 Ground Three.

      Interviewing a witness does not create a conflict ofinterest with the client. But

this Court cannot decide the merits of these claims. "Grounds which were apparent

on the original appeal cannot be made the basis for a second attack under § 2255."

Eggerv. United States, 509 F.2d 745, 748 (9th Cir. 1975). See also Sanders v. United

States, 373 U.S. 1, 16 (1963) ("For example ... [a] claim ofinvoluntary confession

predicated on alleged psychological coercion does not raise a different' ground' than

does one predicated on alleged physical coercion." (emphasis added)). "The fact that

the issue may be stated in different terms is of no significance." United States v.

Currie, 589 F.2d 993, 995 (9th Cir. 1979). Claims 2 and 3 were addressed on direct

appeal, Nickerson, 556 F.3d at 1019-20, and must be dismissed.

III. Certificate of Appealability

      "The district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant." Rule 1 1(a), Rules Governing § 2255



ORDER DENYING § 2255 MOTION ANDDENYlNG
CERTIFICATE OF ApPEALABILITY I PAGE 7
       Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 8 of 9



Proceedings. "A certificate of appealability may issue ... only ifthe applicant has

made a substantial showing of the denial of a constitutional right." 28 U.S.C. §

2253(c); Lambright v. Stewart, 220 F.3d 1022, 1024 (9th Cir. 2000). This standard

is met if Nickerson can show that "reasonable jurists would find the district court's

assessment ofthe constitutional claims debatable or wrong." Miller-EI v. Cockrell,

537 U.S. 322, 338 (2003) (internal quotation marks omitted).

      Each of Nickerson's claims lacks merit, and the second and third were also

addressed and denied on direct appeal. As to the first claim, on one hand, if counsel

told Nickerson new counsel would not be appointed, she was right, and there was no
                        \



error, no deficient performance, and no prejudice. Nickerson, 556 F.3d at 1020-21.

On the other hand, if Nickerson means she told him he could not even hire new

counsel, the allegation is contradicted by the transcript. A COA is not warranted.


      Accordingly, IT IS HEREBY ORDERED as follows:

      1. All claims having been denied, Nickerson's motion to vacate, set aside, or

correct the sentence under 28 U.s.C. § 2255 (doc. 149) is DENIED;

      2. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal if Nickerson files a Notice of Appeal;

      3. The Clerk ofCourt shall ensure that all pending motions in this case and in

ORDER DENYING § 2255 MOTION AND DENYING
CERTIFICATE OF ApPEALABILITY / PAGE 8
       Case 9:06-cr-00066-DWM Document 150 Filed 04/30/10 Page 9 of 9



CV 10-37-M -DWM are terminated and shall close the civil file by entering judgment

in favor of the United States and against Nickerson.

      DATED this ~y of April, 2010.




ORDER DENYING § 2255 MOTION AND DENYING
CERTIFICATE OF ApPEALABILITY / PAGE 9
